            Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 1 of 12
 09/25/2014                      .J ·   , ·RENS COUNTY 911                            PAGE     1
 :1..0: 19: 35                              CAD Incident Detail                       USER CLYBR


CAD I ncident: 2014-00055945              ESN                     014~               SO     EF E
Phone                                     Law                     LAURENS CO         E R    N S
Name                                      Fire                    EAST DUBLIN        EDF    7 6
Address     BREWTON LOVETT RD& HIGHWAY 31 EMS                     LAUREN S EMS       2 1    4 3
Community: EAST DUBLIN                    Resc ue :
Jurisdctn :
Intersect : HIGHWAY 319 N                 Disp
SubDivisn :                               Source:                 0

CAD Call Times: UNKNOWN MEDICAL

Incoming Call : 09/24/2014              22 : 57 : 02
Call Created : 09/24/2014               22 : 57:02       Created By: CBRACEWEL Pos : 003
Call Send Time                          22 : 57 : 02     Sent By   : CBRACEWEL Action :
Ca l l Dispatc h Time:                  22 : 57 : 24     Event   UNKMED 1       Language:
Call Enroute Time                       22 : 57 : 24     Law             1
Call Ar r i val Time                    22 : 57:24       Fi re
Call Cl ear Time                        00:00 : 00       EMS                lAL   s
Call Closed      : 00/00/0000           00 : 00 : 00     Rescue:

                                            Narratives


Na r rative By : CBRACEWE L 09/24/2014 22:57
200 yrds from brewt on lovett & 319

                                             Vehicle Informat i on


UNI T     DEPT STATUS/DSP/CASE               LOCATION/REMARK                USER     DATE         TIME

SOlO   L03       AS                                                         CB RAC   09/24     22 : 57 : 24
SOl    103       AS                                                         CB RAC   09/24     22:57:36
SQUADl EOl       DSP                    0000006167                          TROGE    09/24     22 :57:44
SQU/\DlEOl       ENR                                                        TROGE    09/24     22 :57 : 48
SQUADl EOl       LOG                    99.2                                TROGE    09/24     22 :58 : 34
SOl    103       LOG                    NEED CR I ME SCENE TAP              CB RAC   09/24     23: 00 : 43
SOlO   103       CLR                                                        CBRAC    09/24     23 :0 1 :06
SOl    1 03      LOG                    ADVS AMBULANCE TO TURN BY           CB RAC   09/24     23 : 0 1 : 10
SO l   L03       LOG                    HIS BLUE LIGHTS                     CB RAC   09/24     23 : 01 : 10
SQUAD lEOl       AS                     105 . 7                             TROG E   09/24     23 : 03:11
SQUADl EOl       LOG                    PUT AE102 ON STAND BY               TROGE    09/2 4    23:03 : 29
SQUAD lEOl       LOG                    AE 102                              TROGE    09/24     23 : 03 : 59
SOl    L03       LOG                                                        CB RAC   09/24     23 : 04 : 34
EDF216 F02       ENR                                                        TROGE    09/24     23:05 : 53
SQUAD lEOl       LOG                    CLEAR                               TROGE    09/24     23 : 06 : 14
SQUADl EOl       LOG                    GO AHEAD AND GET AE102 LI FTED      TROGE    09/24     23 : 06:22
soi    103       LOG                    AMBULANCE IS LEAVING                CB RAC   09/24     23 :1 0:51
SOl    103       LOG                    CLOSE OFF THE AREA AFTER NO         CB RAC   09/24     2 3:10 : 51
soi    L03       LOG                    ONE ELSE IN                         CBRAC    09 / 24   23 : 10 : 51
SOl    L0 3      OK                                                         CBRAC    09/24     23 : 14 : 26
SQUADl EOl       L0*-. . . .. . . .. .11111~ EVAC CANNOT LIFT DUE TO        TROGE    09/24     23 : 14 : 29
                       PLAINTIFF'S
                          EXHIBIT                                                                    f)/
                    I       I                                                          HOOKS - 949
            Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 2 of 12
09/25/201!,                     'RENS COUNTY 911                                  PAGE        2
J.0:19:3S                         CAD Incident Det a j 1                          CSF'.R CLY BR


SQUADl    EOl LOG               WEATIJE:R                             TROGE      09/24 23:11J:29
S03       L03 1,0G              81\STMA~l       GBT NOT J J.'IED      CJJFAC     09/24 23: 15: 13
SOl      L03 OK                                                       CBFAC      09/24 23:17:38
SOl      L03 OK                                                       CB RAC     09/24 23:20:39
SQUADl   EOl A"   ,,            115.0                                 TROGE      09/24 23:22:30
SOl      LO 3 OK                                                      CBl<l\C    09/24 23:25:16
SOl      L03 OK                                                       CB RAC     09/24 23:28:22
SOl      LO:l C)K                                                     CB RAC     09/24 23:33:42
SOl      L03 OK                                                       CBl</\C    09/24 73:38:1'.i
SOl      I.03 OI\                                                     CB RAC     09/24 23:4l:S6
SOl      L03 OK                                                       CB RAC     09/24 23:45:08
SOl      L03 OI\                                                      CB RAC     09/24 23:48:22
SQUADl   EOl LOG                10-4     :o-7     l·'OR A F'EftJ      TR()(~E    09/24 23:50:42
301      L03 NNTC                                                     CBH!\C     09/24 23:54:22
SOl      LOJ Ot\                                                      CB RAC     09/2C; OO:OfJ:S6
SOl      L03 Of\                                                      C3RAC      09/25 00:15:03
SOSO     L03 l\S                                                      (:BRAC     09/2'.i 00: 49: 46
80302    L03 AS                                                       CB RAC     09/25 00:49:51
SOT/    L03     l\S                                                   C:BRAC     09/25 00:49:53
SOll    L03     AS                                                    CBRAC:     09/25 00: 49: SfJ
SOl     I.03    LOG             A'I'   22:5'/    so ADVS TO GET EMS   CB RAC     09/25 01:09:05
SOl     I03     LC)(~           ENR TO HIS LOCATION                   CS RAC     09/25 01:09:05
S02'/   L03     CLF                                                   CB RAC     09/25 05: 53: 07
EIW21.6 F02     CLP.                                                  J\t'JYNN   09/25 08:06:26
S0302 L03       CLR                                                   JWYNN      09/25 08:24:22
S011    L03     CJ,R                                                  CST RT     09/25 08:38:44
SQlJADl E 0 l   CLP.                                                  JV·/YNN    09/?S 09:?8:51




                                                                                   HOOKS- 950
                   Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 3 of 12
 09/25/2014                                       RENS COUN'l'Y 91'                                                   PAGE
 10:19:41                                          CAD Incident Detail                                                USER      CLYJR


 CAD IncidenL: 2014-00055947                                        ESN          0135                             so       S7        [7,
 Phone                                                              Law          LAURENS CO                       ··' R N
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                                                                                                                                ,)


 Namo                  BRJ\N DO:J DEA'i                             Fi=e         RURAL FIRE                       7 ED:·"' 6
                                                                                                                       .
 Address               1184 N llIGHWAY 319                          EMS          :,.l\CRENS lcMS                  ?        •1 3
 Corroo~nity:         HAST DJBLIN                                   Hcscue:
 Jurisdct:n:
 J nter.sect.:        Tl)'V'\IPR                                    D ~ SI)
 SubD.ivi.sn:                                                       Source:      N9(~


CAD Ca:l Times: DISCHARGING                        ~'[REARMS


 Ir:c~onLi.nq      Ca2.l: 09/24/2014 23:01:23
Call      Crea~ed  : 09/24/2014 23:01:23                            Crea ::.eel By: DTl\l)LJ•:v                  Pos:OOl
(:,71]]     'Ti.r:ie
          SF~rid                )J:Of:/()                           ~on·    Py    : OTA~L~Y                      Ar:-:tion:
Cal_ D Ls patch T .i.1:1e :     2 3 : 02 : 3O                       Sver:.t                      /               Language:
Call Er,rouc:o Time                             ).3:03:00               1dW                      2
Ca~.l     /\r~~jva:        Time :               2.3:03:00           fire
Cal 1 Clear Time           00:00:00                                 E(l<S
Ca 1 l Closed  :00/00/0000 OO:OC:OJ                                 Rescue:

Qrj_qir.c·! 1 Di sr)atch Remarks:
   SOMEO~iS SNTEkEU THIS '-'OMJ.:: SllOOTlNG


                                                    Narratj_ves


Nanclt i ve !3y:           IJTAPLEY      C9/)4/20H 23: 02
'iHE MCTHER           or   fik/1NJON CALJ.:-:!J 111 M AND TOLf) ii I :'i THAT           SOMi.'.~ONI':    l::N'IERED THE: !"Oi':E:
SHOOTING .. PLEASE Cl\LL 91i                    IMMELill\Tl<LY

Narrat.jvr:. By: DTl\P:.E:':'      09/?IJ//.014             :~3:0.?
478 :)JS 241:] .. 'IE:HJ·,~J/\ !l)()l<S

Nau2tivc By: JTAPL2:Y                09/24/2014 ?.3:03
T!i i S FC:SJ'!'::!\CE GOT FOllBf·:il MC!:'JDA'! NlCHT 1\1\D IT IS                SUFPO:'>E~)           TO FlE    IKVESTICATl·'.:l

Narrative Hy: DTAP~~y          09/24/2011 23:04
!'I: IS BOY :31\1 D HE IS GOING OVE?. THERE NOV'I CAUSE THEY AlNT COT MUC!I TIME .l\ND HE
ISNT '/J!\l'l'l NC· ON A JSPlJTY

Ndrrat..ive By: DT/\Pl.i·,Y                    09/2~/2014   /3:'.l~
Bt.O'J' NOW    llL~   SEES A DEf''U1'Y COMING ACROSS T!IE DA"l

:Jarralive dy: DTAPLEY    U9/24/2014 )];0~
THE  SOK !S ~EA?ING A GLK SHIRT AND JEANS

Narrat.ive fly:            lll'l\PL:::Y        09/?1/7014 23:06
iE l\D\I      THAT !IE lil\D '!'CJ        GO   CAUSE BS CiAVI    THE:    AMJJ:C,i\NG'. COl·FNC; l:J

                                                    Vohicle ·nrornaticn




                                                                                                                      HOOKS· 951
             Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 4 of 12
09/25/?014                                'RENS COUNTY 911                                                PAGE            2
10:19:41                                    CAD Incident Detail                                           USi·'.F.   CLYBF<.


UNIT       JJEPT STATUS/DSP/CASE                   LOCATlON/REMARK                            USER       DATE
             .. . . . . . . . . . . . . . . . . . . . . ....... . ... . . . . .. . . . . . . . . . . . . . . . . . . .         . . ...
3014       L03 DSP                                                                            CllRl\C    09/24       23:02:30
S014       L03 AS                                                                             CB RAC     09/24       23:03:00
S028       L03 AS                         EDF LANDING ZONE: HloLI 13 ETA                      CB RAC     09/24       23:04:30
S014       L03 LOG                                                                            CBEAC      09/24       23:07:04
S028       L03 LOG                            SON lS WALK INC OUT TO THE
                                          '.l'HE                                              CB RAC     09/24       23:07:07
S028       L03 LOG                        LOCATION NOW                                        CB RAC     09/24       23:07:07
S028       L03 LOG                        THE HEL I CO P'l'F~R CANT l;'LY                     CB PAC     09/24       23:07:35
S028       103 LOG                        WILL TRY TO c;ET A1R MED TO                         C13EAC     09/24       23:0'1:3J
S028       L03 LOG                        MSET AT F'?H                                        CBRl'.C    09/24       23:07:35
S028       L03 LOG                        TO FLY THE PT OUT                                   CBRl\C     09/21;      23:07:35
so J. 4    L03 OK                                                                             CBR!\C     09/24       23:10:31
S014       L03 0 f<                                                                           CBRAC      09/24       2.3:13:41
S028       L03 OK                                                                             CBFJ\C     09/24       23:13:46
SOI 0     L03 Ali                                                                             CBRl'.C    09/24       23:40:56
8019       L03 AH                                                                             CB RAC     09/24       23:41:02
S014      L03 0 r<                                                                            CB RAC     09/24       23:53:51
SOlO      L03 CLR                                                                             CIBAC      09/25       01:14:45
S019      L03 CLR                                                                             CR PAC     09/2'.>     01:36:51
SOlO      L03 BUSY                                                                            CB RAC     09/25       01:39:22
8019      L03 13USY                                                                           CB!\AC     09/25       01:39:22
S0300     ;,o 3 BUSY                                                                          CB RAC     09/25       01:39:22
30306     L03 BUSY                                                                            CBRf\C     09/25       01:39:22
S014      L03 CLR                                                                             CBFf\C     09/25       02:2'.1:23
S029      L03 BUSY                                                                            CB RAC     09/25       02:25:47
8028      L03 CLR                                                                             CB RAC     09/25       05:09:09
SOJO      L03 CLf-<.                                                                          CB RAC     09/25       0'.,;09:35
S019      L03 CLR                                                                             CBHAC      09//5       0:0:09:4]
S032      L03 ALI.cc                                                                          CBFf\C     09/25       o::i:45:04
S032      L03 CLR                                                                             Clll\l\C   09/25       05:45:08
S029      I.03 CI3                                                                            CBRl\C     09/25       OS: :.:i9: 15
S02l      L03 AS                                                                              C3RAC      09/25       oc,:59:22
8017      L03 AS                                                                              csrn1      09/25       06:22:33
5096      L03 ENR                                                                             CS':'l\ I  09//'5      07:20:26
S0306     L03 CLR                                                                             CS'?RI 09/25           C7:27:58
S096      L03 AS                                                                              CSTRl 09/25            ()7:32:20
S017      L03 CLR                                                                             CST RI     09/25       07:56:30
S023      L03 AS                                                                              VHAc.L     09/25       08:17:29
5021      L03 CLF                                                                             CSTP'      09/25       08:23:02
S096      L03 CL!\                                                                            CSTRI      09/25       08:56:12




                                                                                                                         v?/
                                                                                                                          ;>"
                                                                                                           HOOKS- 952
 Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 5 of 12



                   GEORGIA BUREAU OF INVESTIGATION
                              REGION 12
                     INVESTIGATIVE CASE SUMMARY

  12-0059-34-15
  On Wednesday, September 24, 2014, at approximately 11:15 p.m., Special Agent
  JERRY JONES received a request for GBI assistance from Laurens County Sheriff's
  Captain STAN WRIGHT regarding an officer involved use of force incident. Captain
  WRIGHT contacted SA JONES via telephone . Captain WRIGHT informed SA JONES
 that members of the Laurens County Sheriffs Office assigned to the Special
  Response Team (SRT) had executed a search warrant at 1184 Highway 319 N., East
 Dublin, Laurens County, Georgia. During th e course of executing the search
 warrants, members of the team engaged the homeowner, DAVID HOOKS. During
 this time deputies discharged their firearms resulting in HOOKS being injured .
 HOOKS had been transported to the Fairview Park Hospital in Dublin, Laurens
 County, Georgia for medical treatment. The scene had been secured and sheriffs
 office members involved in the incident were waiting to be interviewed. Captain
 WRIGHT made the request for GBI assistance on behalf of Sheriff BILL HARRELL.

 SA JONES informed Captain WRIGHT that ASAC BODREY would be contacted
 regarding the request. No further information was provided at this time.


CONTACT INFO:
WRIGHT, STAN {CAPTAIN)
EMPLOYER:
LAURENS CO SHERIFF'S OFFICE
DUBLIN GA



SPECIAL AGENT ALLEN J JONES: 9/30/2014
agj: 10/2/2014




                                     PROPERTY OF GBI
Page 1 of 1
                    Further dissomination is prohibited without written approval of a
480856                                      GBI Supervisor                              EXHIBIT



                                         PLAINTIFF'S
                                           EXHIBIT
                                                  z.
                                                                                                  HOOKS - 716
             Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 6 ofPAGE
                                             LAURENS SUP COURT
                                                                               12 03/44
10/07/2014   14:11    4782752595




                                                 SEARCH WARRANT

                         IN THE     MAGISTRATE            COURT OF         LAURENS               COUNTY

                                                   STATE OF GEORGIA

                                                                                            Docket No.   £o1.lf-I eos
  TO: ALL PEACE OFFICERS OF THE STATE OF GEORGIA

  Affidavit having been made before me by       SA Lindsey Gidde"s                       an Officer charged with the
  duty of enforcing the Criminal laws, that he has reason to believe that In LAURENS                County, Georgia
  on the following described person, premises, or property: (state detailed description of person, property. or location)


  The residence located at 1184 Highway 319 North, Dublin, Laurens County, Georgia. The residence Is owned
  by David N. Hooks according to the Laurens County Ta~ Assessor's website.
  The residence is further described as a two story dwelling with grey vinyl siding, black shutters and a front
  porch with white columns. There is also white lattice surrounding the front porch of the residence. To search
  is to Include all other vehicles and outside buildings located on the entire curtllage.


  there is now located certain instruments, articles, person(s). or things, namely: (specify evidence, contraband, or
  person(s) to be searched for)

  Shell casings, projectiles, DNA, Trace Evidence, Hairs, Fibers, Fir~anns, ammunition, fingerprints, gunshot
  residue, blood, body fluids

  Which ls (name the law being violated)

  Aggravated Assault on a Police Officer O.C.G.A. 16-5-21 (c)


  Based upon the affidavit given under oath or affirmation and all other evidence given to me under oath or affirmation, I
  am satisfied that there is probable cause to believe that a crime is being committed or has been committed and that
  the property described above is presently located on the person, premises, or property described above.

  You are hereby commanded to enter, search and seize within ten (10) days of this date, the person, premises, or
  .property described above. A copy of this Warrant is to be left with the person searched, or if no person is available, on
  the premises or vehicle searched, and a written return, including an inventory of any things seized, shall be made
  before me or a Court of competent jurisdiction without unnecessary delay after the execution of this Search Warrant.


  ~OEREDthis             25th      day of   September                    2014        , at    (·.152
  \:?p.m.


                                                      JUDGE OF THE        ~M~a-9i~
                                                                                 st_ra_t_
                                                                                        e~~~~~~~- COURT


                                                              PLAINTIFF'S
                                                                EXHIBIT
                                                                    3
              Case 3:16-cv-00023-DHB-BKE Document  95-1 Filed 06/27/17 Page 7 of1-'Alil:.
                                              LAU~l:.No oUI-' LUU~[
                                                                                 12                                        ~4/   44




NO-KNOCK PROVISION (Not Valid Unless Signed)

    IT APPEARING from the aforementioned Affidavit that there are reasonable grounds to believe that the giving of
verbal notice would greatly increase the officer's peril and (or) lead to the immediate destruction of the instruments,
articles, or things ordered to be seized.

     IT IS, THEREFORE, ORDERED that entry be made without knocking and the giving of verbal notice of the
officer's authority and purpose.

                                                                                                     .M.
    SO ORDERED this
                             -------               day of       ,20
                                                                       ---- ,at

                                                                  JUDGE OF THE      -"-M~a~gi_st_ra..,te....__ _   COURT



                                                  RETURN OF SERVICE


       0     This Search Warrant was not executed and is returned to the judicial officer who issued it.



       [}{   I executedthisSearchWarrant on           2,Jfl'bdayof         &rtemter   ,20         Ji/ ,at f'.fJ5AIY1
             and searched the person, premises or property described in the warrant. A copy of this warrant:

        0    Was left with
        G    Was left in the following conspicuous place:
                                                                                      because no one was available
             ..,.-..,.--:--....,---------------~---~
              to be given the warrant:

Attached hereto is an inventory consisting of       D1     pages, of the instruments, articles, or thin_j}s which were
seized pursuant to this Search Warrant. This inventory was made in the presence of ~ KKK cJ!Y]fth
                                              and I swear (affirm) that this inventory is a true and detailed account

"''"   """"~""· "'"'"· "         '""" ""'' ,,_,"'           ~'' S..•h   w'tt/r;w,13            fl ;J,I, '· "'-'
                                                                           AffiantJ            ~
Sworn and subsj};d to before()
me this        f           day of         fuk:> o J(..      ,20       I+

             Magistrate Judge
           Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 8 of 12
                                           LAU~~N~ ~U~ CUU~I




                     AFFIDAVIT AND APPLICATION FOR A SEARCH WARRANT
             INTHE             MAGISTRATE            COURT OF LAURENS             COUNTY
                                                  STATE OF GEORG'"'"IA-:--------
                                                                          Docket No.                   fjnli-/808'
   The undersigned          SPECIAL AGENT LINDSEY GIDDENS                     being duly sworn, deposes and sayS:
   I am an officer of the State of Georgia or its political subdivisions charged with the duty of enforcing the criminal
laws, and that I have reason to believe that in      LAURENS                            County, Georgia, on the person,
premises, or property described as follows: (state detailed description of person, property, or location)

The residence located at 1184 Highway 319 North, Oublin, Laurens County, Georgia. The residence is owned
by David N. Hooks according to the Laurens County Tax Assessor's website.
The residence is further described as a two story dwelling with grey vinyl siding, black shutters and a front
porch with white columns. There is also white lattice surrounding the front porch of the residence. To search
is to Include all other vehicles and outside buildings located on the entire curtilage.

there is now located certain instruments, articles, person(s), or things, namely: (specify evidence. contraband, or
person(s) to be searched for)

Shell casings, projectiles, DNA, Trace Evidence, Hairs, Fibers, Firearms, ammunition, fingerprints, gunshot
residue, blood, body fluids

Which is (name the law being violated)

Aggravated Assault on a Police Officer O.C.G.A.16-5-21 (c)

   The facts tending to establish probable cause that a crime has been, or is being committed and the above
described instruments, articles or things described above are presently located at the above described
premises or property arc as follows:(state in detail the facts you believe create probable cause, including
statement of ownership, possession, or control, if known)

Your Affiant, Special Agent LINDSEY B, GIDDENS, is a Special Agent with the Georgia Bureau of
Investigation, and is authorized under the laws of the State of Georgia to conduct investigations, make arrests
for offenses under Georgia Statutes, and to perfonn other duties as required by law. Affiant has been
employed in law enforcement since September 2003, and has been employed by the Georgia Bureau of
Investigation since February 1, 2006. Prior to current employment affiant was employed by the Oconee Drug
Task Force as a Narcotics Agent. Affiant holds a Bachelor degree in Criminal Justice from Mercer
University and a Master degree i.n Public Administration from Columbus State University. Since beginning
employment in law enforcement affiant has received over 2500 hours of law enforcement training in
conducting criminal investigations.

On Wednesday, September 24, 2014 at approximately J0:57 p.m., Laurens County Sheriff's Office executed
a knock and announce search warrant at l 184 Highway 319 North, Dub.fin, Laurens County, Georgia which
is the residence of David N. Hooks. Infonnation had previously been obtained by Laurens County Sheri.ff's
Office Investigator Chris Brewer regarding David N. Hooks being i.n possession of a quantity of
methamphctamine.

Preliminary infonnation indicates that upon arrival by the Laurens County Sheriff's Office, David N. Hooks
was seen retreating to the upstairs of the residence. Entry was made by the Laurens County Sheriffs Office.
At this time, David N. Hooks came downstairs with a firearm in hand. Laurens County Sheriff's Office
deputies discharged their fireami.s in response to David N. Hooks being in possession of the firearm. It is
             Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 9 of 12
                                                                               PAGE                                     06/44
10/07/2014    14:11     4782752595                         LAURENS SUP COURT




  unknown at this time if any further action was taken by David N. Hooks. David N. Hooks was wounded by
  the Laurens County Sheriff's Office deputies.

  It is necessary to process the crime scene at 1184 Hwy 319 North, Dublin, Laurens County, Georgia in. order
  to obtain evidence regarding this investigation. Affiant requests permission to photograph and videotape the
  crime scene.

  The scene is secured by Agents of the Georgia Bureau of Investigation.

  Based on the above affidavit, Affiant believes that there is probable cause to believe that evidence of
  violations of Aggravated Assault on a Police Officer O.C.G.A. 16-5-21 (c) located within the above
  described residence.


    I swear or affirm that all of the information contained in this Affidavit and all other testimony given by
  me under oath is true to the best of my knowledge and belief.




                                                  AFFIANT:


                                                  TITLE:

  Sw?rn to and s~ed to before me this      25th     day of    September                            . 20     _1'-'4'-- . at
   \ •'$')..   . ~(P.M.)




                                                             Judge of the -'-'M""a"'g"-is=-tc.cra""t:.:.e_ _ _ __   Court


                                                                             Laurens                       County
                                                             ~---~~----~-
             Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 10 ofPAGE
                                                                                12                                07/44
10/07/2014    14:11          4782752595                       LAURENS SUP COURT




                                              SEARCH WARRANT ADDENDUM




       On September 25, 2014 a search warrant was issued for the residence located at 1184 Hwy. 319, East
       Dublin, Laurens County, GA. This warrant was obtained by S/A LINDSEY GIDDENS of the Georgia Bureau
       of Investigation regarding a use of force investigation.

       The use of force incident occurred while the Laurens County Sheriff's Office was executing a drug search
       warrant that was obtained by Investigator CHRIS BREWER of the LCSO on September 24, 2014 (a copy of
       the September 24, 2014 drug search warrant is attached). The drug search warrant was specific to
       metharnphetamine and paraphernalia and included the residence, vehicles and outside buildings
       located within the curtilage. Laurens county Sheriffs Office personnel have not executed a search of
       the residence, vehicles and outside buildings located within the curtilage for rnethamphetarnine and
       paraphernalia as authorized by the September 24, 2014 drug search warrant.

       lhe G81 CSS began executing the search warrant issued to S/A GIDDENS on September 25, 2014. The
       residence has been secured by law enforcement agencies since that time; however GBI agents have not
       conducted a search for methamphetamine and paraphernalia.

       It is now being requested this addendum be attached to this search warrant in order to authorize GBI
       agents to search the residence, vehicles, and outside buildings located within the curtilage for
       controlled substances, specifically methamphetamine and/or paraphernalia necessary for
       manufacturing, packaging, cutting, weighing and/or distributing controlled substances. It is necessary
       for GBI agents to conduct the search for controlled substances because this was the reason Laurens
       Coun       SRT and deputi   were at this location.




       Affiant




              I          I
       Date
  Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 11 of 12



                         GEORGIA BUREAU OF INVESTIGATION
                                    REGION 12
                             INVESTIGATIVE SUMMARY

  12-0059-34-15

  On Thursday, September 25, 2014, at approximately 12:43 a.m ., Special Agent JERRY
 JONES was located at 1184 Highway 319 North, East Dublin, Laurens County, Georgia
 in reference to interviewing TERESA HOOKS regarding this case. During the interview,
 TERESA essentially stated the following :


 TERESA is the wife of DAVID HOOKS. This evening, TERESA was located upstairs
 (2nd floor) and had just turned off the TV. DAVID was located in the master bedroom on
 the bottom floor (1st floor) of the residence.    TERESA was preparing to go to bed when
 she heard what she believed to be a vehicle outside the residence . She looked outside
 the window and saw what she described as individuals with black hoods. It could have
 been more than four (4) people. She didn't recall seeing a vehicle, but she heard it.
TERESA was concerned about this activity due the fact that a theft had just occurred at
their residence on Monday. TERESA began to yell for DAVID. She believed that DAVID
was asleep due to the fact he was asking her "what's going, what, what". TERESA went
downstairs and was in the foyer when entry was made into their house. A light was on
in the kitchen. She heard someone yell prior to the door being rammed. DAVID came
out of the bedroom carrying a shotgun. TERESA believed that DAVID had been asleep
due to the fact that he was not clothed and he normally slept in the nude


TERESA ran to the master bedroom for the purpose of retrieving a gun due to the fact
that she did not know what was going on at this point. She ran to the master bathroom
and got into a closet.   She used DAVID'S cell phone identified as (478) 304-2695 to call
her son, BRANDON DEAN. She recalled hearing gunshots before




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Case 3:16-cv-00023-DHB-BKE Document 95-1 Filed 06/27/17 Page 12 of 12
